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w
    (Admitted in New York and New Jersey)




                                                                                   February 13, 2020


                Hon. James L. Garrity
                United States Bankruptcy Court
                One Bowling Green
                New York, New York 10004

                                                           Re:     El San Juan City Island on 5 TH Ave., LLC.
                                                                   Case No. 20-10103-jlg
                                                                   Chapter 11 Case

                 Dear Judge Garrity:

                       I write in response to the Letter Filed by Howard Levine on behalf of La Casa Quinta
                L.P. [ECF No. 10] and Declaration Under Penalty of Perjury for Non-Individual Debtors [ECF
                No. 11].

                        Mr. Levine requests that the Court enter a proposed order, without a hearing, pursuant to
                11 U.S.C. 362(c)(4)(a)(ii) that confirms “no stay is in effect.” The Debtor requests that the
                Court deny Mr. Levine’s request. The Bankruptcy Code provision cited by Mr. Levine provides
                in relevant part

                                    (4)(A)(i) if a single or joint case is filed by or against a debtor who is an
                                    individual under this title, and if 2 or more single or joint cases of the debtor
                                    were pending within the previous year but were dismissed, other than a case
                                    refiled under a chapter other than chapter 7 after dismissal under section 707(b) ,
                                    the stay under subsection (a) shall not go into effect upon the filing of the later
                                    case; and

                                    (ii) on request of a party in interest, the court shall promptly enter an order
                                    confirming that no stay is in effect.
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Since the plain language of the statute limits the relief sought to cases filed by individual
debtors, Mr. Levine’s request should not be granted.

       Thank you for your time and consideration.

                                                              Very truly yours,

                                                              /s/Norma E. Ortiz

                                                              Norma E. Ortiz
